         Case 5:18-cr-00525-OLG Document 80 Filed 08/23/21 Page 1 of 1 FILED
                                                                                        August 23, 2021
                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                      WESTERN DISTRICT OF TEXAS
                                                                                   BY: _                     _J_U__
                      UNITED STATES DISTRICT COURT                                                      DEPUTY
                         WESTERN DISTRICT OF TEXAS
                                  ANTONIO DIVISION
                              SAN ANTONIO


USA                                              §
                                                 §     CRIMINAL NO:
vs.                                              §     SA:18-CR-00525(1)-OLG
                                                 §
 1 LEO EDWARD FERNANDEZ                          §

             ORDER RESETTING SENTENCING - IN PERSON


        IT IS HEREBY ORDERED that the above entitled and numbered case is reset
                                                                              reset for
SENTENCING - IN PERSON in Courtroom 1, on the First Floor of the John H. Wood, Jr.
United States Courthouse, 655 East Cesar E. Chavez Boulevard, San Antonio, TX, on
Thursday, September 02, 2021 at 09:30 AM.

        IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

        IT                         23rd day of August, 2021.




                                                 Orlando L. Garcia
                                                 CHIEF U.S. DISTRICT JUDGE



***To reflect change in time only.
***Sentencing will be held in-person unless otherwise requested by counsel.
